                                                                                                    DISTRICT OF OREGON
                                                                                                         FILED
                                                                                                      September 22, 2021
                                                                                                 Clerk, U.S. Bankruptcy Court



  Below is an order of the court.




                                                                                   _______________________________________
                                                                                              DAVID W. HERCHER
                                                                                             U.S. Bankruptcy Judge




                                 UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

In re
                                                               Case No. 21‐31142‐dwh11
EDWARD A. ARINIELLO, JR.,
                                                               Chapter 11
                      Debtor.
                                                               STIPULATED ORDER EXTENDING DEADLINE TO
                                                               OBJECT TO DEBTOR’S HOMESTEAD EXEMPTION




                   Debtor‐in‐Possession Edward A. Ariniello, Jr. (the “Debtor”) and creditors

Solomon Management, Inc. and Robert D. Solomon, in his capacity as Trustee of the Mervin

Solomon GST Trust UW 9‐28‐2008 (collectively, the “Solomon Entities”) hereby stipulate as

follows:

        1.         The deadline to object to the Debtor’s claimed homestead exemption in this
chapter 11 bankruptcy proceeding was originally set for July 14, 2021.



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            EXEMPTION
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        2.         On June 28, 2021, the Debtor filed his Motion to Extend the Deadline to Object

to Debtor’s Homestead Exemption (Dkt. No. 25, the “Motion to Extend”), in which the Debtor

requested that the time to objection to the Debtor’s claimed homestead exemption “be

extended to coincide with the yet‐to‐be‐scheduled deadline for creditors to file objections to

the Debtor’s Plan of Reorganization.” Motion to Extend ¶ 6. The Motion to Extend was granted

pursuant to a text‐only order on June 30, 2021. See Dkt. No. 26.

        3.         On August 17, 2021, the Debtor filed his Plan of Reorganization Dated August 17,

2021 (Dkt. No. 30, the “Plan”). On August 20, 2021, the Court entered its Order Fixing Time for

Filing Acceptances or Rejections of Plan; and Notice of Confirmation Hearing (Dkt. No. 31, the

“Scheduling Order”), in which it set the date and time of the confirmation hearing, along with
several deadlines that are computed from the confirmation hearing date. These deadlines

include the deadline for objecting to the confirmation of the Plan.

        4.         Under the Court’s Scheduling Order, the current deadline for objections to

confirmation of the Plan is September 24, 2021. Because the Court has granted the Motion to

Extend, the deadline for objections to the Debtor’s claimed homestead exemption is September

24, 2021 as well.

        5.         On September 16, 2021, the Debtor and the Solomon Entities participated in a

mediation. The Debtor and the Solomon Entities intend to participate in a continued mediation

in October 2021. Thus, the Debtor and the Solomon Entities intend to ask the Court to continue

the Plan confirmation hearing to a date in November 2021 and reschedule the related

deadlines, including the confirmation objection deadline, accordingly.

        6.         It is in the best interests of the Debtor, the creditors, and the estate to alleviate

the need for filing objections to the Debtor’s claimed homestead exemption while the Debtor

and the Solomon Entities continue to engage in settlement negotiations and participate in

mediation. In order to provide sufficient time for the Debtor and the Solomon Entities to



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conclude their negotiations, and file and respond to objections to the Debtor’s claimed

homestead exemption, if necessary, the Debtor and the Solomon Entities agree that the

deadline to object to the Debtor’s claim homestead exemption should be further extended and

that cause exists for that extension.

        7.         The Debtor and the Solomon Entities hereby stipulate that the deadline to file

and serve objections to the Debtor’s claimed homestead exemption is extended to the later of

(a) the deadline for objecting to confirmation of the Plan, as may be rescheduled by this Court

from time to time, and (b) October 25, 2021.
                                                         ###

IT IS SO STIPULATED:



 Dated September 20, 2021                                       Dated September 20, 2021

 MILLER NASH LLP                                                MOTSCHENBACHER & BLATTNER LLP



 /s/ Garrett S. Ledgerwood                                      /s/ Nicholas J. Henderson (with permission)
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 Attorneys for Creditors Solomon                                Attorneys for Debtor‐in‐Possession
 Management, Inc. and Robert D. Solomon,                        Edward A. Ariniello, Jr.
 in his capacity as Trustee of the Mervin
 Solomon GST Trust UW 9‐28‐2008


RULE 9021‐1(a) CERTIFICATION: I certify I have
complied with LRB 9021‐1(a) because the
proponents seek entry of this order without notice
and a hearing pursuant to LBR 9013‐1(b)(2)(F).

/s/ Garrett S. Ledgerwood
Garrett S. Ledgerwood, OSB No. 143701


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